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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DOUGLAS J. BEEVERS, Arizona Bar #016370
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   MARIA MARTINEZ
 7
 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     NO. CR-S-08-0068 EJG/EFB
                                     )
12                   Plaintiff,      )
                                     )     STIPULATION AND ORDER MODIFYING
13        v.                         )     CONDITIONS OF RELEASE
                                     )
14   MARIA MARTINEZ,                 )     Date: NONE
                                     )     Time: NONE
15                   Defendants.     )     Judge: Hon. Edmund F. Brennan
                                     )
16   _______________________________ )
                                     )
17
18        It is hereby stipulated between the parties, Jason Hitt, Assistant
19   United States Attorney, attorney for plaintiff and Douglas J. Beevers,
20   Assistant Federal Defender, attorney for defendant Maria Martinez, that
21   her conditions of pretrial release be modified to terminate the
22   condition requiring drug testing. This modification is based on the
23   fact that Defendant Maria Martinez was released on April 4, 2008 and
24   has complied with the testing condition for over one year.
25        The U.S. Pretrial Services Office and the U.S. Attorney’s Office
26   have no objection to the proposed modification.
27   //
28   //
           Case 2:08-cr-00068-EJG Document 60 Filed 03/05/10 Page 2 of 2


 1   Dated: March 4, 2010                   Respectfully submitted,
 2                                          DANIEL J. BRODERICK
                                            Federal Defender
 3
                                            /s/ Douglas J. Beevers
 4
                                            DOUGLAS J. BEEVERS
 5                                          Assistant Federal Defender
                                            Attorney for Defendant
 6                                          MARIA MARTINEZ
 7
     Dated: March 4, 2010                   BENJAMIN B. WAGNER
 8                                          United States Attorney
 9
                                            /s/ Jason Hitt
10                                          ________________________________
                                            JASON HITT
11                                          Assistant U.S. Attorney
12
13
                                         O R D E R
14
15        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
16   ordered that the release conditions for Defendant Maria Martinez be
17   modified to terminate the requirement of drug testing.          All other
18   release conditions remain in effect.
19   IT IS SO ORDERED.
20   Dated: March 4, 2010
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